            Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 1 of 31




                                  IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                                                *
                                                                        *
                            vs.                                         *              Case No. 21-cr-00028-2 (APM)
                                                                        *
DONOVAN CROWL,                                                          *
         Defendant                                                      *
                                                                        *

                                                                    ooOoo

                     DEFENDANT CROWL’S RESPONSE TO THE
              GOVERNMENT’S SUPPLEMENTAL BRIEF ON 18 U.S.C. § 1512(c)(2)

                                                     TABLE OF CONTENTS
Introduction. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    2
Argument. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
I.         Applying § 1512(c)(2) to acts unrelated to the availability or integrityof evidence
           would render as surplusage: (1) “otherwise obstructs” in § 1512(c)(2); (2) the rest
           of § 1512; and (3) the entirety of Chapter 73.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       4
           A.         The government’s interpretation renders “otherwise” surplusage. . . . . . . . . . . . . . 5
           B.         The government’s interpretation renders the rest of § 1512 surplusage. . . . . . . 14

           C.         The government’s interpretation renders swathes of Chapter 73 surplusage.. . . . 16

II.        Yates plainly bars the government’s interpretation of § 1512(c)(2). . . . . . . . . . . . . . . . 17

III.       The “corruptly” and “nexus” elements do nothing to avoid surplusage. . . . . . . . . . . . . . 24

IV.        The Fifth Superseding Indictment does not even allege Defendants’ interference with
           “documentary or tangible evidence”. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 26

V.         The government’s mistaken interpretation of “official proceeding” is another
           symptom of the foregoing problems. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 27

Conclusion. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 30

Request for a Hearing. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 30



                                                                                                                                                 1
        Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 2 of 31




                                        INTRODUCTION

       The Court requested supplemental briefing on whether 18 U.S.C. § 1512(c)(2),

“Tampering with a witness, victim or an informant,” covers acts of political protest at the joint

session of Congress to count Electoral College certificates. In response, the government filed a

30-page legal memorandum addressed to a straw man argument.                   “Nothing in Section

1512(c)(2)’s text, structure, or history, or in the relevant legal precedent, limits it to obstruction

tied to documentary or tangible evidence.” Gov’t Suppl., p. 1 (emphasis added). Mr. Crowl

has never made that argument.

       Mr. Crowl has argued that § 1512(c)(2) only covers acts that corruptly affect the integrity

or availability of any kind of evidence. The government does not cite any authority holding that

it does. To the contrary, every § 1512(c)(2) case cited by the government concerns interference

with the integrity or availability of information destined for a proceeding. That is what every

provision in § 1512 concerns.

       As in Yates v. United States, 574 U.S. 528 (2015), the government makes a category

mistake. Section 1519’s criminalization of tampering with any “record, document or tangible

object” did not cover a dead fish tossed overboard because, “[m]indful that in Sarbanes-Oxley,

Congress trained its attention on corporate and accounting deception and cover ups,” the

legislature plainly meant objects that record or preserve information – the lifeblood of any

“proceeding.”     A companion to Section 1519 in Sarbanes-Oxley, Section 1512(c)’s

criminalization of “alter[ing], destroy[ing], mutilat[ing], or conceal[ing] a record, document, or

other object . . . or otherwise obstruct[ing], influenc[ing], or imped[ing] any official proceeding,”

likewise does not reach acts that do not intentionally affect the flow or quality of information in

a proceeding. If it did, the rest of Chapter 73 would be surplusage. The “mens rea” and nexus




                                                  2
        Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 3 of 31




limitations on § 1512(c)(2)’s reach that the government proposes do nothing to avoid mass

surplusage because the other sections in Chapter 73 carry the same “limitations.”

       The parties have addressed the meaning of “official proceeding,” the ejusdem generis and

noscitur a sociis canons, and the “corruptly” element in conceptual silos. In fact, they mutually

reinforce that the government attempts to jam a square peg in a round hole. That is why

obstruction of justice statutes have never been used to prosecute acts having no tie to the quality

or availability of evidence in a proceeding; why in ordinary language we call political protesters

“riotous” or “mob-like” but not “corrupt”; and why over a century of federal jurisprudence does

not yield an example of an obstructed “proceeding” that did not involve an inquiry or

investigation.

       Moreover, in this particular case, the fact that the conduct at issue implicates First

Amendment activities requires this Honorable Court to act with heightened scrutiny. When

activity that falls within the shadow of the First Amendment is alleged to be criminal, courts are

required to apply the strictest standards of judgment in ensuring that only intentional criminal

activity is prosecuted and not constitutionally protected actions, beliefs or associations. NAACP

v. Claiborne Hardware Co., 458 U.S. 886, 918-19 (1982) (boycott activity, which was not itself

violent, that resulted in the loss of business profits was constitutionally protected); Noto v.

United States, 367 U.S. 290, 299-300 (1961) (requiring “rigorous standards of proof” in Smith

Act prosecutions). Nothing in the Government’s Supplemental Memorandum eliminates the

vagueness issues present in this case.




                                                3
        Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 4 of 31




                                         ARGUMENT

I.     APPLYING § 1512(c)(2) TO ACTS UNRELATED TO THE
       AVAILABILITY OR INTEGRITY OF EVIDENCE WOULD RENDER AS
       SURPLUSAGE: (1) “OTHERWISE OBSTRUCTS” IN § 1512(C)(2); (2)
       THE REST OF § 1512; AND (3) THE ENTIRETY OF CHAPTER 73

       The first section of the government’s supplemental brief sets out the ostensible goal of

establishing that § 1512(c)(2) “covers the defendants’ actions on January 6, 2021.” Gov’t Supp.,

p. 3. Yet the next 12 pages attempt to establish a point that, even if true, does not yield the

conclusion that Section 1512(c)(2) “covers the defendants’ [alleged] actions.”

       Proceeding from an analysis of the statute’s “ordinary meaning” to a review of the case

law, the government develops the argument that “Section 1512(c)(2) encompasses misconduct

that threatens an official proceeding beyond the simple document destruction that Section

1512(c)(1) proscribes.” Gov’t Supp., p. 4; pp. 5-14. However, the question is not whether

Section 1512(c)(2) merely reaches beyond “simple document destruction” but whether it reaches

acts that do not intentionally affect the integrity or availability of evidence in a proceeding

whatsoever.1

       Accordingly, Mr. Crowl will use the government’s interpretive tools but apply them to

the relevant question.   As the government correctly observes, the Court looks first to the

statutory language, “giving the words used their ordinary meaning.” Lawson v. FMR LLC, 571

U.S. 429, 440 (2014). In order to do that, the Court must hew closely to the “‘endlessly
1
  The government’s blinkered focus on the “simple document destruction” straw man leads it to
strange places. A “nexus-to-tangible-evidence-or-documents requirement,” it warns, would “render
nonsensical” § 1512(c)(2)’s actus reus verbs “obstruct[], influence[], or impede[].” Gov’t Suppl.,
p. 9. “[A] defendant cannot ‘obstruct’ a document or ‘impede’ a financial record.” Id.

         Mr. Crowl agrees. However, he finds it telling that although a defendant can surely
“obstruct[], influence[], or impede[]” the “integrity or availability” of information “use[d] in an
official proceeding” that happens not to be an “object” (e.g., testimony), the government anywhere
addresses in 30 pages of briefing why § 1512(c)(2) is not plainly understood to “otherwise” cover
impairment of non-physical evidence.


                                                4
        Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 5 of 31




reiterated principle of statutory construction . . . that all words in a statute are to be assigned

meaning, and that nothing therein is to be construed as surplusage.’” Independent Ins. Agents of

Am., Inc. v. Hawke, 211 F.3d 638, 644 (D.C. Cir. 2000) (quoting Qi-Zhuo v. Meissner, 70 F.3d

136, 139 (D.C. Cir. 1995)).       And “the canon against surplusage is strongest when an

interpretation would render superfluous another part of the same statutory scheme.” Marx v.

General Rev. Corp., 568 U.S. 371, 386 (2013).

       Again, the relevant statute provides,

               Whoever corruptly—

               (1) alters, destroys, mutilates, or conceals a record, document, or
               other object, or attempts to do so, with the intent to impair the
               object’s integrity or availability for use in an official proceeding;
               or

               (2) otherwise obstructs, influences, or impedes any official
               proceeding, or attempts to do so . . . shall be fined . . . or
               imprisoned . . .

§ 1512(c) (emphasis added).

       A construction of § 1512(c)(2) that reaches acts not intended to affect the availability or

integrity of evidence used in an official proceeding commits the Court to several layers of

surplusage.

       A.      The Government’s Interpretation Renders “Otherwise” Surplusage

       If subsection (c)(2) reaches any and all obstructive acts, the words “or otherwise” have

no meaning. That is because the subsection would reach just as far if it simply read, “Whoever

corruptly . . . obstructs, influences, or impedes any official proceeding . . .shall be fined. . .”

Conversely, a construction of subsection (c)(2) that reaches conduct directed at undermining the

proceeding through actions that affect the integrity and availability of evidence beyond document

impairment, gives meaning to the word “otherwise” in subsection (c)(2).



                                                5
        Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 6 of 31




        The government’s own cases do Mr. Crowl’s work for him. In every § 1512(c)(2)

decision cited by the government, “otherwise” performs the task of capturing conduct that, while

not “alter[ing], destroy[ing], mutilat[ing], or conceal[ing] a record, document, or other object,”

§1512(c)(1), yet still “otherwise” constitutes actions impairing the integrity and availability of

non-object information used in the “official proceeding”:

    ·   United States v. Volpendesto, 746 F.3d 273, 286 (7th Cir. 2014) (soliciting tips from
        corrupt cops to evade surveillance constituted evidence sufficient for jury to find “efforts
        were out of a desire to influence what evidence came before the grand jury”) (emphasis
        added);

    ·   United States v. Phillips, 583 F.3d 1261, 1265 (10th Cir. 2009) (disclosing identity of
        undercover agent to subject of grand jury drug investigation evidence sufficient to find
        purpose was to “thwart evidence from reaching the investigation”) (emphasis added);

    ·   United States v. Petruk, 781 F.3d 438, 447 (8th Cir. 2015) (attempting to obtain false
        statement to be used in pending federal charges sufficient to satisfy § 1512(c)(2));

    ·   United States v. Carson, 560 F.3d 566, 585 (6th Cir. 2009) (making false statements
        “directly to the grand jury itself” sufficient to satisfy § 1512(c)(2)) (emphasis original);

    ·   United States v. Burge, 711 F.3d 803, 809 (7th Cir. 2013) (false responses to
        interrogatories that were filed in the official proceeding sufficient to satisfy §
        1512(c)(2));

    ·   United States v. Ring, 628 F. Supp. 2d 195, 223 (D.D.C. 2009) (making false statements
        to outside counsel “so that counsel would provide misleading information to the grand
        jury”) (emphasis added).

        The government’s § 1512(c)(2) cases do not just fail to support an argument that the

“residual clause” reaches conduct not intended to affect the availability or integrity of

information used in the “official proceeding.” They provide positive proof that Mr. Crowl’s

construction of § 1512(c)(2) gives meaning to “or otherwise obstructs. . .” while the

government’s interpretation improperly leaves that phrase surplusage.2

2
  The Court will notice that the government itself cites cases that even reject its straw-man
interpretation that § 1512(c)(2) goes beyond tampering with physical evidence. Gov’t Suppl., p. 6.
United States v. Singleton, No. 06-CR-80, 2006 WL 1984467, at *3 (S.D. Tex. July 14, 2006)


                                                 6
        Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 7 of 31




       The same point is shown in the government’s feeble attempt to distinguish Begay v.

United States, 553 U.S. 137 (2008). Begay is dispositive here. There, the Court used ejusdem

generis to determine what crimes were covered by the statutory phrase “any crime . . . that . . . is

burglary, arson, or extortion, involves use of explosives, or otherwise involves conduct that

presents a serious potential risk of physical injury to another.” 553 U.S. at 142 (quoting 18

U.S.C. § 924(e)(2)(B)(ii)) (emphasis added). Begay held that the “otherwise involves” provision

covered “only similar crimes, rather than every crime that ‘presents a serious potential risk of

physical injury to another.’” Id. Had Congress intended the latter “all encompassing meaning,”

“it is hard to see why it would have needed to include the [preceding statutory] examples at all.”

Id.

       In Begay, the government counters, “the ‘otherwise involves’ provision covered only

crimes ‘similar’ to those in the enumerated list. . . In Section 1512(c)(2), by contrast, the

‘otherwise’ phrase stands alone . . .and is ‘plainly separated and independent of’ Section

1512(c)(1).” Gov’t Suppl., p. 25 (citing Ring, 628 F. Supp. 2d at 224 n. 17) (emphasis added).

The government’s argument is grammatically frivolous.          By its definition, the phrase “or

otherwise obstructs. . .” cannot “stand alone,” if the government is contending that the phrase

possesses meaning without reference to another proposition.

       As the Begay court itself found, the adverb “otherwise” is defined to mean “in a different

way or manner.” 553 U.S. at 144 (quoting Webster’s Third New International Dictionary 1598

(1961)). In turn, the word “different” is an adjective that means “not of the same kind: partly or

totally unlike.” DIFFERENT, Merriam-Webster Online Dictionary, https://www.merriam-

webster.com/dictionary/different. More specifically, it is a comparative adjective, which by its

(unpublished) (concluding that Section 1512(c)(2) “require[s] some nexus to tangible evidence,
though not necessarily tangible evidence already in existence”); see also United States v.
Hutcherson, No. 05-CR-39, 2006 WL 270019, at *2 (W.D. Va. Feb. 3, 2006) (same).


                                                 7
        Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 8 of 31




definition involves a relationship between two or more subjects. COMPARATIVE, Merriam-

Webster Online Dictionary, https://www.merriam-webster.com/dictionary/comparative. Section

1512(c)(2) begins with the phrase “or otherwise obstructs. . .” Therefore, it does not “stand

alone” in any relevant grammatical sense.

       However, even if § 1512(c)(2)’s “or otherwise obstructs . . .” cannot definitionally “stand

alone,” the government also says that the phrase is at least “independent of” § 1512(c)(1)

specifically. Gov’t Suppl., p. 25. By “independent of” the government may have intended that §

1512(c)(2)’s language constitutes an independent clause, as that term is understood in grammar.

Or it may have meant “independent” in some less technical sense. Either way, the government’s

claim is frivolous. An “independent clause” is one that stands by itself as a simple sentence, i.e.,

it contains a subject and a predicate and completes a proposition by itself. INDEPENDENT

C LA U S E ,   Merriam-Webster           Online       D i c t i o n a r y,   https://www.merriam-

webster.com/dictionary/independent%20clause.

       Section 1512(c)(2) is not an independent clause because “or otherwise obstructs,

influences, or impedes any official proceeding, or attempts to do so . . . shall be fined . . . or

imprisoned” contains neither a subject nor a complete predicate. The predicate is not complete

because the meaning of “or otherwise obstructs, influences, or impedes any official proceeding”

cannot be determined without reference to the verb or verbs by which the comparative adverb

“otherwise” by its definition modifies the verbs that follow it.             If § 1512(c)(2) is not an

independent clause it is a dependent clause, which means it is “connected to the main clause of a

sentence.”     DEPENDENT           CLAUSE,           Merriam-Webster           Online    Dictionary,

https://www.merriam-webster.com/dictionary/dependent%20clause.                The clause to which §

1512(c)(2) is “connected” is § 1512(c)(1).       Thus, § 1512(c)(2) is not “independent of” §




                                                 8
        Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 9 of 31




1512(c)(1) in any relevant grammatical sense.

       Therefore, the “otherwise” provision in § 1512(c)(2) is not grammatically distinct from

that in Begay. That leaves only the Begay issue whether the “otherwise” conduct charged here is

a “similar crime” to the ones enumerated in § 1512(c)(1). 553 U.S. at 142. By “similar crimes”

Begay meant “crimes that are roughly similar in kind as well as in degree of risk posed to the

[enumerated] examples themselves.” Id. at 143. There, the “example crimes” were “burglary,

arson, extortion and crimes involving the use of explosives.” Id. Begay held that DUI was not

“similar” to those because “the listed crimes involve purposeful, ‘violent’ and ‘aggressive’

conduct,” which driving intoxicated did not necessarily entail. Id.

       Here, the government proposes that § 1512(c)(2) reaches obstructive acts that do not

intend to affect the integrity or availability of evidence used in a proceeding. It is easy to grasp

why Mr. Crowl’s interpretation of § 1512(c)(2) satisfies Begay but the government’s does not.

Mr. Crowl’s interpretation of “or otherwise obstructs” is not limited to physical evidence

destruction of the type enumerated in § 1512(c)(1). However, the conduct his interpretation

captures is still a “similar crime” to the enumerated list. To use the government’s own cases,

although soliciting false testimony (§ 1512(c)(2)) is not identical to document shredding (§

1512(c)(1)), it is Begay-similar because both crimes involve acts intended to affect the integrity

or availability of evidence in a proceeding. Volpendesto, 746 F.3d at 286; Phillips, 583 F.3d at

1265; Petruk, 781 F.3d at 447; Carson, 560 F.3d at 585; Burge, 711 F.3d at 809; Ring, 628 F.

Supp. 2d at 223.




                                                 9
       Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 10 of 31




       By contrast, the government’s interpretation of § 1512(c)(2) does not even describe the

contours of the acts it claims are covered.3 Thus, the government does not engage with the

Begay analysis at all. At times, it appears to suggest that unlawful presence in the Capitol alone

is covered. Gov’t Suppl., p. 25 (“They are alleged to have forced their way into the Capitol to

impede Congress’s certification of the Electoral College vote at the very moment that

certification was underway. . .”). Unlawful presence is not a crime “similar” to the document

destruction crimes enumerated in § 1512(c)(1) because that offense does not intrinsically

concern preventing evidence from reaching a proceeding. Trespass is not obstruction of justice.

At other times, the government appears to suggest the relevant covered conduct is intimidation

or threatening behavior. Gov’t Suppl., p. 15 (listing defendants’ “stack formation” and “helmets,

goggles, hard-knuckle tactical gloves”). In that case, these offenses are not “similar crimes” to

those enumerated in § 1512(c)(1) for the exact same reason that, in Begay, DUI was not

“similar” to “burglary, arson, extortion and crimes involving the use of explosives,” namely, the

crimes listed in § 1512(c)(1) do not necessarily entail “threatening” and “aggressive” conduct.

553 U.S. at 143.

       It is critical to recognize that the government’s interpretation out-Begays Begay. Not

only is its construction of § 1512(c)(2)’s “otherwise” crime not “similar” to the enumerated

offenses in § 1512(c)(1), it is not Begay-similar to any other provision in § 1512. Every crime in

§ 1512(a)-(c)(1) and (d) concerns actions designed to affect the integrity or availability of

evidence in a proceeding. The government argues that the residual clause is the only provision

in a statute titled “Tampering with a witness, victim, or informant” that need not have any


3
  As with its definition of “corruptly,” the government shimmies to avoid defining key terms for as
long as possible. It is forced to keep dancing because there is no coherent way to create a static
obstruction system capturing the hundreds of motley situations in a “riot.” Square peg in a round
hole.


                                                10
       Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 11 of 31




connection to evidence impairment. Were the context of this case different, it seems likely that

an argument so novel and frivolous would have long ago lost the Court’s serious consideration.

       The government’s grammatical errors in interpreting 1512(c)(2) are repeated in its

reliance on Justice Scalia’s construction of the omnibus clause in § 1503, to which he declined to

apply the ejusdem generis canon. United States v. Aguilar, 514 U.S. 593, 610 (1995) (Scalia, J.,

dissenting in part and concurring in part). The omnibus clause is emboldened below:

               Whoever corruptly, or by threats or force, or by any threatening letter or
               communication, endeavors to influence, intimidate, or impede any grand
               or petit juror, or officer in or of any court of the United States, or officer
               who may be serving at any examination or other proceeding before any
               United States magistrate judge or other committing magistrate, in the
               discharge of his duty, or injures any such grand or petit juror in his person
               or property on account of any verdict or indictment assented to by him, or
               on account of his being or having been such juror, or injures any such
               officer, magistrate judge, or other committing magistrate in his person or
               property on account of the performance of his official duties, or corruptly
               or by threats or force, or by any threatening letter or communication,
               influences, obstructs, or impedes, or endeavors to influence, obstruct,
               or impede, the due administration of justice, shall be punished . . .

§ 1503 (emboldening added).

       Aguilar attempted to argue that, under ejusdem generis, since all the rest of § 1503 refers

to actions directed at jurors and court officers, the emboldened omnibus clause could not apply

to actions directed at witnesses. 514 U.S. at 614. But as Justice Scalia found, the provisions in

Section 1503 “only share the word ‘Whoever,’ which begins the statute, and the penalty

provision which ends it.” Id. at 615. The provisions were, Justice Scalia said, “independent.”

       It is hard to miss the grammatical differences between the interpretive issue Justice Scalia

faced and the one confronted by this Court. The unemboldened first part of Section 1503 begins

with the phrase “whoever corruptly, or by threats or force, or by any threatening letter or

communication. . .” and so does the emboldened “omnibus clause.” Notice that the clauses that




                                                11
        Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 12 of 31




Justice Scalia found “independent” were grammatically independent clauses, i.e, they stand as

complete sentences without the other. By contrast, as shown above, § 1512(c)(2) is a clause that

“depends” on § 1512(c)(1) to inform the meaning of its predicate. Also, unlike the clauses in §

1503, those in § 1512(c)(1) and (c)(2) share an element of the offense in common that is not

repeated in each subpart, i.e., the “corruptly” element.4

       Notwithstanding all the surplusage, even if the Court were to somehow find the

government’s construction formally correct, it is certainly not “clearly” so. Thus, the Court

would turn to § 1512(c)(2)’s legislative history. Burlington Northern Railroad Co. v. Oklahoma

Tax Commission, 481 U.S. 454, 460 (1987) (review of legislative history appropriate to resolve

statutory ambiguity).    Here, the government says, the Court will find “no support” for a

conclusion “contrary” to the government’s claim that § 1512(c)(2) is the only clause in that

statute criminalizing conduct bearing no relationship to evidence impairment or availability.

Gov’t Suppl., p. 9. Then the government proceeds to supply ample evidence contrary to its

argument.

       When § 1512 was enacted in 1982, the government correctly points out, its title was

“Tampering with a witness, victim, or an informant.” Gov’t Suppl., p. 10. This title, says the

government, “suggested [] Section 1512 as originally enacted targeted conduct . . to prevent

testimony or hinder . . . communication of information to law enforcement or the courts. . .” Id.

(emphasis added). So far, so good. Only, after noting nonchalantly that § 1512’s title remains


4
 The government cites to the interpretation of § 1503’s omnibus clause given by a few lower courts.
Gov’t Suppl., p. 8. It is unclear why. When its cases do address the scope of the clause, it is deemed
cabined to acts that – everyone say it together now – intend to affect the integrity or availability of
evidence in a proceeding. United States v. Lefkowitz, 125 F.3d 608, 619-20 (8th Cir. 1997)
(defendant hiding documents from proceeding); United States v. Lester, 749 F.2d 1288, 1295 (9th
Cir. 1984) (hiding witness); United States v. Brown, 688 F.2d 596, 597-98 (9th Cir. 1982) (warning
suspect about impending search warrant to prevent discovery of evidence to be used in proceeding).



                                                  12
       Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 13 of 31




the same, the government provides no explanation as to why the title’s “suggest[ion]” of what

the statute “target[s]” has somehow lost force.

       The government continues. Section 1512(c) was added in the Sarbanes-Oxley Act of

2002 (SOX). Gov’t Suppl., p. 10. That legislation was “principally aimed to ‘prevent and

punish corporate fraud, protect the victims of such fraud, preserve evidence of such fraud, and

hold wrongdoers accountable for their actions.’” Id. (citing S. Rep. No. 107-146, at 2 (2002)).

Quite right. Yet the government does not point to any indication in SOX’s legislative history that

Congress intended a transformation in the nature of the conduct “targeted” by § 1512, which was

“suggested” to the government by its title. It turns out the evidence runs the other way.

       As to § 1512(c) specifically, SOX’s legislative history “provides little explanation of

Congress’s objective,” argues the government. Gov’t Suppl., p. 11. That is quite misleading.

The government omits a material passage from the Congressional Record, found merely a few

pages before another section it does quote. Senator Trent Lott, the member of Congress who

introduced the amendment that would be codified at § 1512(c), specifically explained its

purpose. 148 Cong. Rec. S6542 (daily ed. July 10, 2002). Namely:

       [This section] would enact stronger laws against document shredding. Current law
       prohibits obstruction of justice by a defendant acting alone, but only if a proceeding is
       pending and a subpoena has been issued for the evidence that has been destroyed or
       altered . . . [T]his section would allow the government to charge obstruction against
       individuals who acted alone, even if the tampering took place prior to the issuance of a
       grand jury subpoena. I think this is something we need to make clear so we do not have a
       repeat of what we saw with the Enron matter earlier this year.

Id. at S6545 (emphasis added).

       Senator Hatch added that § 1512(c) would “close [the] loophole” created by the available

obstruction statutes and hold criminally liable a person who, acting alone, destroys documents.

Id.




                                                  13
          Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 14 of 31




          The legislative history is not only flatly inconsistent with the government’s hypothesis

that the “loophole closer” actually somehow worked a revolution whereby the rest of Section

1512 was unnecessary. It’s even inconsistent with the government’s far more narrow straw man

argument that § 1512(c)(2) is not limited to impairment of physical evidence.

          B.     The Government’s Interpretation Renders the Rest of § 1512 Surplusage

          The government’s interpretation of § 1512(c)(2) not only fails to give meaning to its

phrase “or otherwise obstructs . . .” It also renders the other provisions in § 1512 surplusage,

unlike Mr. Crowl’s construction. Yates, 547 U.S. at 542 (“We resist a reading of [an obstruction

statute] that would render superfluous an entire provision passed in proximity as part of the same

Act.”).

          Again, the government claims § 1512(c)(2) covers any act that obstructs, influences or

impedes an official proceeding. All of the following more specific provisions are rendered

useless by the government’s “residual clause” interpretation, for they are all “acts” that obstruct,

influence or impede proceedings:

          ·      § 1512(a)(1) penalizes whoever “kills or attempts to kill another person with
                 intent to (A) prevent the attendance or testimony of any person in an official
                 proceeding; (B) prevent the production of a record, document, or other object, in
                 an official proceeding; or (C) prevent the communication by any person to a law
                 enforcement officer or judge of the United States of information relating to the
                 commission or possible commission of a Federal offense or a violation of
                 conditions of probation, parole, or release pending judicial proceedings. . .”

          ·      § 1512(a)(2) penalizes whoever “uses physical force or the threat of physical
                 force against any person, or attempts to do so, with intent to (A) influence, delay,
                 or prevent the testimony of any person in an official proceeding; (B) cause or
                 induce any person to (i) withhold testimony, or withhold a record, document, or
                 other object, from an official proceeding; (ii) alter, destroy, mutilate, or conceal
                 an object with intent to impair the integrity or availability of the object for use in
                 an official proceeding; (iii) evade legal process summoning that person to appear
                 as a witness, or to produce a record, document, or other object, in an official
                 proceeding; or (iv) be absent from an official proceeding to which that person has
                 been summoned by legal process; or (C) hinder, delay, or prevent the



                                                  14
       Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 15 of 31




               communication to a law enforcement officer or judge of the United States of
               information relating to the commission or possible commission of a Federal
               offense or a violation of conditions of probation, supervised release, parole, or
               release pending judicial proceedings. . .”

       ·       § 1512(b) penalizes whoever “knowingly uses intimidation, threatens, or
               corruptly persuades another person, or attempts to do so, or engages in misleading
               conduct toward another person, with intent to (1) influence, delay, or prevent the
               testimony of any person in an official proceeding; (2) cause or induce any person
               to (A) withhold testimony, or withhold a record, document, or other object, from
               an official proceeding; (B) alter, destroy, mutilate, or conceal an object with
               intent to impair the object’s integrity or availability for use in an official
               proceeding; (C) evade legal process summoning that person to appear as a
               witness, or to produce a record, document, or other object, in an official
               proceeding; or (D) be absent from an official proceeding to which such person
               has been summoned by legal process; or (3) hinder, delay, or prevent the
               communication to a law enforcement officer or judge of the United States of
               information relating to the commission or possible commission of a Federal
               offense or a violation of conditions of probation, supervised release, parole, or
               release pending judicial proceedings. . .”

       ·       § 1512(d) penalizes whoever “intentionally harasses another person and thereby
               hinders, delays, prevents, or dissuades any person from (1) attending or testifying
               in an official proceeding; (2) reporting to a law enforcement officer or judge of
               the United States the commission or possible commission of a Federal offense or
               a violation of conditions of probation, supervised release, parole, or release
               pending judicial proceedings; (3) arresting or seeking the arrest of another person
               in connection with a Federal offense; or (4) causing a criminal prosecution, or a
               parole or probation revocation proceeding, to be sought or instituted, or assisting
               in such prosecution or proceeding. . .”

       Indeed, when the government does vaguely identify the specific defendant conduct said

to constitute an obstruction offense, it is already covered by the above provisions – not §

1512(c)(2).   One might fairly characterize the government’s claim to be that defendants

“harassed” members of Congress. Yet that conduct is already covered by § 1512(d) – except

that provision makes clear that Congress referred to harassment intended to prevent a person

from testifying.   § 1512(d)(1).   One might characterize the government’s claim to be that

defendants intimidated or threatened congresspeople.      Again, that is already covered by §

1512(b) – except the “intimidation” or “threat[s]” must be made with the intent to affect the


                                               15
       Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 16 of 31




integrity or availability of evidence. § 1512(b)(1), (2). One might characterize its claim to be

that defendants used “the threat of physical force” against Congress. Yet, again, that is already

covered by § 1512(a)(2) – except, again, the threat must be made with the intent to affect the

integrity or availability of evidence. § 1512(a)(2)(A), (B).

       The government makes no attempt to explain why Congress would go through the effort

of crafting these provisions, carefully tying each type of obstructive act to the integrity or

availability of evidence, only to follow them with a clause that covers the exact same actus reus

– but without any tie to evidence availability. That is because the government’s construction is

not properly described merely as unprecedented but frivolous. Qi-Zhuo v. Meissner, 70 F.3d at

139 (“[A]ll words in a statute are to be assigned meaning, and . . . nothing therein is to be

construed as surplusage.”).

       C.      The Government’s Interpretation Renders Swathes of Chapter
               73 Surplusage

       If § 1512(c)(2) covers any act that obstructs, influences or impedes any official

proceeding, it does not merely “overlap” with some other criminal section. It renders useless

swathes of Chapter 73, all of which are covered by the government’s § 1512(c)(2) construction

but concern more particular conduct that courts must assume Congress did not craft in vain:

       ·       § 1503, defined above, criminalizes whoever corruptly, or by threats or force, or
               by any threatening letter or communication, influences, intimidates, or impedes
               jurors, officers of the court, law enforcement officers, or the administration of
               justice;

       ·       § 1505 criminalizes, among other things, “Whoever corruptly, or by threats or
               force, or by any threatening letter or communication influences, obstructs, or
               impedes or endeavors to influence, obstruct or impede . . . the due and proper
               exercise of the power of inquiry under which any inquiry or investigation is being
               had by either House, or any committee of either House or any joint committee of
               the Congress. . .”5
5
  The government’s interpretation of § 1512(c)(2) is not limited to acts intended to affect the
integrity or availability of evidence. Any obstructive act counts. Thus, according to the government,


                                                 16
        Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 17 of 31




       ·       § 1510 criminalizes those who willfully endeavor by means of bribery to obstruct
               the communication of information relating to a violation of any criminal statute of
               the United States to a criminal investigator.

       ·       § 1513 criminalizes those who retaliate against witnesses, victims or informants
               in official proceedings.

       ·       § 1519 criminalizes “Whoever knowingly alters, destroys, mutilates, conceals,
               covers up, falsifies, or makes a false entry in any record, document, or tangible
               object with the intent to impede, obstruct, or influence the investigation or proper
               administration of any matter within the jurisdiction of any department or agency
               of the United States. . .”

       In analyzing the last section above, § 1519, Yates illustrates that the rule against

surplusage, and the interpretive canons ejusdem generis and noscitur a sociis, do not

countenance a reading of § 1512(c)(2) that covers all obstructive acts regardless of whether they

intend to affect the integrity of availability of evidence in a proceeding. Mr. Crowl shows why

in the next section.

II.    YATES PLAINLY BARS THE GOVERNMENT’S INTERPRETATION OF
       § 1512(C)(2)

       The government’s attempt to distinguish Yates from the interpretive question here is as

unpersuasive as it is long.     Gov’t Suppl., pp. 18-28.       That decision militates against the

government’s reading of § 1512(c)(2) through its application of (i) the doctrine against

surplusage; (ii) the canons of ejusdem generis and noscitur a sociis; and (iii) the rule of lenity.

       First, in Yates the government contended that § 1519’s “tangible object” in the phrase

“any record, document, or tangible object” covered all physical objects, such as a dead fish, not

just those that contain information. 574 U.S. at 542. The Court rejected this construction –

citing first the rule against surplusage. If § 1519’s “tangible object” covered all physical objects,


Section 1512(c)(2)’s criminalized conduct overlaps entirely with the same “threats or force” or
“threatening . . . communication[s]” covered by § 1505.



                                                  17
       Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 18 of 31




it would render as surplusage § 1512(c)(1), which proscribes “alter[ing], destroy[ing],

mutilate[ing], or conceal[ing] a record, document, or other object. . .” 574 U.S. at 542. As

shown above, the government’s surplusage problem is far worse than in Yates. If § 1512(c)(2)’s

“or otherwise obstructs” covers all acts regardless of whether they intend to affect the integrity

or availability of evidence, it renders as surplusage all of § 1512 and many other provisions in

Chapter 73.

       Ah, says the government, but we have got Mr. Crowl here. Yates distinguished § 1519’s

“tangible object” from § 1512(c)(1)’s “other object” by finding that the latter need not contain

information.   Gov’t Suppl., pp. 23-24.     Thus, argues the government, Yates found that §

1512(c)(1) “covers more ground than Section 1519” and therefore § 1512(c)(2) must cover the

(vaguely described) conduct the Court addresses here.       Gov’t Suppl., pp. 19-20, 24.      The

government confuses two distinctions. Yates concerns the distinction between evidence that is

used to record or preserve information (§ 1519) and physical evidence that does not intrinsically

record or preserve information, such as a knife (§ 1512(c)(1)). There is no support in Yates, or

anywhere else, that § 1512(c)(2), or any other provision in § 1512, covers acts that do not intend

to affect the integrity or availability of any kind of evidence, including objects-containing-

information (Yates), objects-not-containing-information (§ 1512(c)(1)), or any other non-object

information.

       Second, Yates applied ejusdem generis and noscitur a sociis to limit “tangible object” to

an object used to record or preserve information because the phrase followed a list of words

separated by commas, each noun of which recorded or preserved information (records,

documents). Under noscitur a sociis, “a word is known by the company it keeps to avoid

ascribing to one word a meaning so broad that it is inconsistent with its accompanying words,




                                               18
       Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 19 of 31




thus giving unintended breadth to the Acts of Congress.” Yates, 574 U.S. at 543 (cleaned up).

Section 1519 proscribes “‘alter[ing], destroy[ing] . . . falsif[ying] or mak[ing] a false entry in

any record, document, or tangible object.’” 574 U.S. at 543 (citing § 1519) (emphasis original).

The italicized verbs “typically take as grammatical objects . . . things used to record or preserve

information.” Thus noscitur a sociis counseled limiting “tangible object” to evidence that is

used to record or preserve information.

       Under ejusdem generis, “where general words follow specific words in a statutory

enumeration, the general words are usually construed to embrace only objects similar in nature

to those objects enumerated by the preceding specific words.” 574 U.S. at 544 (cleaned up).

That counseled in favor of interpreting “tangible object” to mean evidence that records or

preserves information given that it followed “record[s], document[s].” Id.           “It is highly

improbable that Congress would have buried a general spoliation statute covering objects of any

and every kind in a provision targeting fraud in financial record keeping.” Id. (emphasis added).

       Here, the exact same analysis requires rejection of the government’s interpretation of §

1512(c)(2).   Section 1512(c) criminalizes “whoever corruptly alters, destroys, mutilates, or

conceals a record, document, or other object . . . or otherwise obstructs, influences, or impedes

any official proceeding . . .” Under noscitur a sociis, Section 1512(c)(2)’s “or otherwise

obstructs” is surrounded by words that concern evidence impairment, if not always impairment

of physical evidence. As shown above, that is true not just of the words in § 1512(c)(1), but all

of the words in the entirety of § 1512.

   Under ejusdem generis, § 1512(c)(2)’s “or otherwise obstructs” follows this enumerated list:

“alter[ing], destroy[ing], mutilate[ing], or conceal[ing] a record, document, or other object. . .”

Again, while it may be reasonable to find that “or otherwise obstructs” reaches beyond



                                                19
        Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 20 of 31




tampering with physical evidence to include non-physical evidence, as for the contention that the

phrase reaches acts that have nothing to do with evidence, “[i]t is highly improbable that

Congress would have buried a general . . . statute covering [obstructive acts not concerning

evidence] of any and every kind in a provision targeting fraud in financial record keeping.”

Yates, 574 U.S. at 544.

       Finally, Yates held that if “recourse to traditional tools of statutory construction leaves

any doubt about the meaning of ‘tangible object’. . .we would invoke the rule that ambiguity

concerning the ambit of criminal statutes should be resolved in favor of lenity.” Yates, 574 U.S.

at 548. Lenity was particularly appropriate because the government “urge[d] a reading of [an

obstruction statute] that exposes individuals to 20-year prison sentences for tampering with any

physical object that might have evidentiary value in any federal investigation into any offense. .

.” Id. (emphasis original).     “[B]efore we choose the harsher alternative, [we] require that

Congress . . . [speak] in language that is clear and definite.” Id. Lenity is even more appropriate

here. The government exposes defendants to a 20-year prison sentence for any act, whichi it

deems obstructive whether or not it concerns evidence integrity or availability, in any

“proceeding” whether or not it concerns an inquiry or investigation.              The government’s

interpretation of § 1512(c)(2) floats in space, tethered to nothing more than its nonpublic

charging decision-making.

       The government’s arguments do nothing to counter Yates’ straightforward application

here.6 Yes, the government concedes, both the plurality and Justice Alito’s concurrence relied
6
  The government says Justice Alito’s concurrence “represents the binding holding as the narrowest
opinion among those concurring in the judgment.” Gov’t Suppl., p. 21 (citing Marks v. United
States, 430 U.S. 188 (1977)). That is wrong. The Marks rule applies when a “fragmented Court
decides a case” and “no single rationale explaining the result enjoys the assent of five Justices.” 430
U.S. at 193 (emphasis added). Justice Alito’s concurrence agreed, at the least, with most of the
“rationales” given by the plurality. 574 U.S. at 550-551. Thus, at least one rationale explained the
result and therefore Justice Alito’s concurrence does not narrow the plurality decision.


                                                  20
        Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 21 of 31




on § 1519’s title, “Destruction, alteration, or falsification of records in Federal investigations

and bankruptcy,” to conclude the crime concerned “[information-interference], not fish.” 574

U.S. at 552. And it admits that § 1512’s title, “Tampering with a witness, victim, or an

informant,” “suggested [] Section 1512 as originally enacted targeted conduct . . to prevent

testimony or hinder . . . communication of information to law enforcement or the courts. . .”

Gov’t Suppl., p. 10 (emphasis added). But that title, it says, was created 20 years before

Congress added § 1512(c).         Congress “simply opted not to rename Section 1512” after

subsection (c) was added in 2002. Id., p. 23. That argument wastes this Court’s time. That the

crime in subsection (c) was added to a statute with that title, and not some other or new section,

implies that Congress did not understand that it was injecting into § 1512 the only criminal

provision that has nothing to do with evidence impairment.

        Second, the government contends ejusdem generis does not apply because § 1512(c)’s

list of enumerated actus reus verbs followed by “or otherwise obstructs. . .” includes numbers

and a semi-colon. Gov’t Suppl., p. 24. It cites no authority for the ejusdem-generis-doesn’t-

apply-when-numbers-or-semi-colons-are-somewhere-present rule. There is none in law or the

logic of grammar.

        It cites to Ali v. Fed. Bureau of Prisons, 522 U.S. 214, 225 (2008), for the proposition

that “the absence of a list of specific items undercuts the inference embodied in ejusdem generis

that Congress remained focused on the common attribute when it used the catchall phrase.” But

there is such a list here: “whoever corruptly alters, destroys, mutilates, or conceals a record,

document, or other object . . . or otherwise obstructs, influences, or impedes any official proceeding .

. . .” § 1512(c). The “common attribute” is interference with the integrity or availability of

evidence.




                                                  21
        Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 22 of 31




       Ali does not help the government distinguish Yates. Section 2680(c) of Title 28 provides

that the U.S. government’s waiver of sovereign immunity does not apply to claims arising from

the detention of property by “any officer of customs or excise or any other law enforcement

officers.” Ali, 552 U.S. at 216 (quoting 28 U.S.C. § 2680(c)). Notice that this statute includes no

list. The petitioner argued that the clause applied only to law enforcement officers enforcing

customs or excise laws. Id. Ali rejected the application of ejusdem generis to § 2680(c) for the

simple reason that, unlike in § 1512(c), there was “no list of specific items separated by commas

and followed by a general or collective term.” Id. at 225. It rejected application of noscitur a

sociis because “although customs and excise are mentioned [only] twice in § 2680(c), nothing in

the overall statutory context suggests that customs and excise officers were the exclusive focus

of the provision.” Id. (emphasis added). By contrast, in § 1512, every single provision of the

statute concerns interference with the integrity or availability of evidence, unlike the

government’s interpretation of § 1512(c)(2).7

       Third, the government argues that noscitur a sociis does not apply to § 1512(c) because

“the first and second clauses . . . are not in a list of related terms.” Gov’t Suppl., p. 26. As shown

above, this claim is grammatically frivolous. Section 1512(c)(2) is a clause dependent on §

1512(c)(1) for its meaning because the former is not a simple sentence. Beginning “or otherwise

obstructs. . .” its predicate is incomplete without reference to the first clause. The government

cites one case in support of its argument. Id. (citing United States v. De Bruhl-Daniels, 491 F.

Supp. 3d 237 (S.D. Tex. 2020)). De Bruhl-Daniels is inapposite as it merely holds that §
7
  The government again cites to Justice Scalia’s concurrence in Aguilar. Gov’t Suppl., p. 24. Mr.
Crowl showed above that Justice Scalia found that ejusdem generis did not apply to the omnibus
clause in § 1503 because each crime in that section was a grammatically independent clause. That’s
not true of § 1512(c). The same flaw is found in the government’s citation to Loughrin v. United
States, which in any case did not address an ejusdem generis argument at all. 573 U.S. 351, 359
(2014) (interpreting § 1344’s two clauses, which are grammatically independent, unlike § 1512(c)).



                                                 22
       Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 23 of 31




1512(c)(2) reaches beyond document tampering, not that it covers acts not having anything to do

with evidence. 491 F. Supp. 3d at 251.

       Finally, the government says Yates’ application of the rule of lenity does not fit here as

there is no “grievous ambiguity” in an interpretation that “no court appears to have applied” in

over a century of obstruction jurisprudence. Gov’t Suppl., pp., 26, 28. That is doubly wrong.

The Yates Court did not apply a “grievous ambiguity” standard, but a simple ambiguity standard.

574 U.S. at 548. See also Abramski v. United States, 573 U.S. 169, 204 (2014) (Scalia, J.,

dissenting) (“[C]ontrary to the miserly [grievous ambiguity] approach, the rule of lenity applies

whenever, after all legitimate tools of interpretation have been exhausted, a reasonable doubt

persists regarding whether Congress has made the defendant’s conduct a federal crime . . . [I]n

other words, whenever those tools do not decisively dispel the statute’s ambiguity.”) (cleaned

up). Second, even if a grievous ambiguity standard were to apply, it shields the defendants from

the government’s frivolous construction here. No provision in § 1512, much less in subsection

(c), has ever been applied to acts that have no connection to the integrity or availability of

evidence in a proceeding, since the statute’s codification in 1982.         Thus, even if that

interpretation is somehow correct despite text, interpretive canons, case law and legislative

history, minimal candor is not consistent with the claim that it is “unambiguously” so. Yates,

574 U.S. at 548.

       Moreover, the government’s admission that “no court appears to have applied” its

interpretation to § 1512(c)(2) means applying that construction retroactively against the select

group of defendants here is a prototypical due process violation under the novel construction

principle. Bouie v. City of Columbia, 378 U.S. 347, 353 (1964) (“[A]n unforeseen judicial

enlargement of a criminal statute, applied retroactively, operates precisely as an ex post facto




                                               23
       Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 24 of 31




law, such as Art. I, § 10, of the Constitution forbids.” If a “legislature is barred by the Ex Post

Facto Clause from passing such a law, it must follow that a [court] is barred by the Due Process

Clause from achieving precisely the same result by judicial construction.” An “unforeseen

judicial enlargement” is one that has no support in precedent before the criminal act); United

States v. Lanier, 520 U.S. 259, 266 (1997) (Bouie still good law).

III.   THE “CORRUPTLY” AND “NEXUS” ELEMENTS DO NOTHING TO
       AVOID SURPLUSAGE

       The government says § 1512(c)(2)’s “corruptly” element and the requirement that the

defendant’s obstructive act have a “nexus” to an official proceeding “limit” its interpretation of

“Section 1512(c)(2)’s reach.” Gov’t Suppl., p. 13.           The government appears to have

misunderstood the Court’s question.        The issue is whether the “corruptly” and nexus

requirements somehow prevent the government’s interpretation of § 1512(c)(2) from rendering

other provisions in that section and Chapter 73 surplusage. They do not come close.

       Corruptly. That the government’s interpretation of § 1512(c)(2) still requires it to prove

the defendants acted “corruptly” does not keep it from rendering other § 1512 provisions

surplusage. As noted above, its construction gives no meaning to the term “or otherwise” in

subsection (c)(2). And subsection (c)(1) also requires the government to prove the corruptly

element.   Thus, “corruptly” does not save the government from rendering the first clause

surplusage. In addition, § 1512(b) punishes “whoever . . . corruptly persuades another person . .

. with intent to influence, delay or prevent the testimony of any person in an official proceeding”

or to “cause or induce any person” to affect the integrity or availability of evidence. Again,

despite the corruptly “limitation,” the government’s interpretation of § 1512(c)(2) still renders §

1512(b) surplusage. The same problem affects many other sections in Chapter 73 that carry the

corruptly element, all of which are rendered surplusage by the government’s reading of §



                                                24
        Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 25 of 31




1512(c)(2) notwithstanding this “limitation.” See § 1503; § 1505.8

        The government itself shows why the “nexus requirement” does not keep its

interpretation of § 1512(c)(2) from rendering other § 1512 provisions and sections in Chapter 73

surplusage. As it points out, it is not just when charging § 1512(c)(2) that the government must

prove that in taking the obstructive act the defendant contemplated a particular, foreseeable

official proceeding. Gov’t Suppl., p. 16. The nexus requirement applies to § 1503. Aguilar, 515

U.S. at 593. It applies to § 1512(b)(2)(A) and (B). Arthur Andersen, 544 U.S. at 706. It applies

to § 1512(b)(1). United States v. Tyler, 732 F.3d 241, 249 (3d Cir. 213). It applies to §


8
  The government smuggles into its supplement its latest definition of “corruptly.” Gov’t Suppl.,
p. 14. Now “corruptly” means “done with conscious wrongfulness.” This ignores:

(1) the consensus view that “corruptly” means “done. . . with a hope or expectation of either
financial gain or other benefit to oneself or a benefit to another person.” Aguilar, 514 U.S. at 616
(Scalia, J., dissenting in part and concurring in part); United States v. Poindexer, 951 F.2d 369, 379
(D.C. Cir. 1991) (“Words like ‘depraved,’ ‘evil,’ ‘immoral,’ ‘wicked,’ and ‘improper’ are no more
specific—indeed they may be less specific—than ‘corrupt.’”); United States v. North, 910 F.2d 843,
882, 285 U.S. App. D.C. 343 (D.C. Cir. 1990) (a “corrupt” intent means “the intent to obtain an
improper advantage for oneself or someone else. . .”); United States v. Reeves, 752 F2d 995, 1001
(5th Cir. 1985) (“To interpret ‘corruptly’ [in obstruction statute] as meaning ‘with an improper
motive or bad or evil purpose’ would raise the potential of overbreadth’ in this statute because of
the chilling effect on protected activities. . . Where ‘corruptly’ is taken to require an intent to secure
an unlawful advantage or benefit, the statute does not infringe on first amendment guarantees and
is not ‘overbroad.’”);

(2) “Corruptly” does not mean the same thing in the context of congressional proceedings and legal
proceedings. Whereas in the latter context, “acts specifically intended to ‘influence, obstruct, or
impede, the due administration of justice’ are obviously wrongful, just as they are necessarily
‘corrupt,’” the same is not true of other types of proceedings. Aguilar, 514 U.S. at 616 (citing North,
910 F.2d at 941 (Silberman, J., concurring) (finding that “corruptly” in congressional proceedings
means something different from the term in legal proceedings));

(3) Arthur Andersen LLP v. United States, 544 U.S. 696, 706 (2005), from which the government’s
“done with conscious wrongfulness” definition derives, (a) resolved the question whether it was
erroneous for the § 1512(b) jury instructions to exclude a consciousness of wrongdoing element and
did not address the unpresented issue whether “corruptly” may be defined as “wrongfully” in every
context consistent with due process; (b) concerned “corruptly” in the context of legal proceedings,
not a congressional proceeding.


                                                   25
       Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 26 of 31




1512(c)(2). United States v. Nicholas Young, 916 F.3d 368, 386 (4th Cir. 2019). Indeed, it

applies to every subsection in § 1512, Tyler, 732 F.3d at 249, including § 1512(c)(1) whose

function is already swallowed by the government’s construction of subsection (c)(2). In sum,

the nexus rule does not even address the surplusage problem created by the government’s

construction of § 1512(c)(2).

IV.    THE FIFTH SUPERSEDING INDICTMENT DOES NOT EVEN ALLEGE
       DEFENDANTS’ INTERFERENCE WITH “DOCUMENTARY OR
       TANGIBLE EVIDENCE”

       The government contends that, “at a bare minimum, Section 1512(c)(2) covers conduct

that prevents the examination of documents, records, and other nontestimonial evidence in

connection with an official proceeding.” Gov’t Suppl., p. 28. It adds that, here, “the defendants

allegedly sought to stop the Members of Congress from reviewing those constitutionally and

statutorily mandated [Electoral College certificates] at a proceeding to certify the results of the

2020 presidential election.” Id.   Here the government cites to a single paragraph in the Fifth

Superseding Indictment. Id. (citing ECF 328, ¶ 37).

       The Court will first notice that the indictment paragraph cited by the government alleges

nothing about Electoral College certificates or the defendants’ intent to stop Members of

Congress from “reviewing” them.          It will notice that paragraph does not allege that

congresspersons were unable to “review” the certificates on account of defendants’ actions or

anyone else’s. ECF 328, ¶ 37. Because no allegation in the indictment contends that defendants

intended to, or did, “prevent the examination of documents, records, and other nontestimonial

evidence,” the Section 1512(c)(2) charges must be dismissed even under this narrower

construction.

       The Court will also notice the government’s none-too-subtle semantic shift from




                                                26
       Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 27 of 31




“nontestimonial evidence,” on the one hand, to “documents . . . consider[ed]” during certification

of the Electoral College vote, on the other. “Evidence” is defined as “[s]omething (including

testimony, documents, and tangible objects) that tends to prove or disprove the existence of an

alleged fact; anything presented to the senses and offered to prove the existence or nonexistence

of a fact.” EVIDENCE, Black’s Law Dictionary (11th ed. 2019). A “vote,” by contrast, is

defined as “[t]he expression of one’s preference or opinion in a meeting or election by ballot,

show of hands, or other type of communication.” VOTE, Black’s Law Dictionary (11th ed.

2019). While “fact” and “opinion” are sometimes hard to distinguish, e.g., Ollman v. Evans, 750

F.2d 970, 979 (D.C. Cir. 1984) (setting out factors used to determine whether a defendant has

stated a fact or opinion in connection with defamation), here the government itself acknowledges

that the divide is clear. The Electoral certificates presented to the joint session are, as the

government puts it, “ballots for the individual voted for as Present.” Gov’t Suppl., p. 29. They

are not things that “prove or disprove” some “fact,” as objects or testimony might during the

administration of justice. In other words, the category mistake the government makes in trying

to use § 1512(c)(2) to cover obstructive acts having nothing to do with evidence is simply being

hidden under the semantic fudge that calls a vote “evidence.”

V.     THE GOVERNMENT’S MISTAKEN INTERPRETATION OF “OFFICIAL
       PROCEEDING” IS SIMPLY ANOTHER SYMPTOM OF THE
       FOREGOING PROBLEMS

       In the motion-to-dismiss hearing, the Court noted that “official proceeding” is defined as

“a proceeding before the Congress.” § 1515(a)(1)(B).         Why, it asked, should it construe

“proceeding” to be limited to those involving investigations or inquiries? Citing § 1505, the

Court observed that Congress could have said “a proceeding involving an inquiry or

investigation” but did not.




                                               27
       Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 28 of 31




       There is an interpretative canon that addresses this exact scenario. But before reaching it,

consider ordinary language usage outside the context of legal canons.           We are trying to

understand what someone meant when they said something. Mr. X says, “I want a glass of

water.” Mr. Y goes to the sink, fills a glass of water, walks back to Mr. X and pours it on his

head. When Mr. X is outraged, Mr. Y explains, with all apparent sincerity, “I interpreted the

plain meaning of ‘I want a glass of water’ to include water poured on your head because you

could have said that you wanted a glass of water so you could drink it but did not.” This is

inconsistent with ordinary language usage because before Mr. X’s request, there was a long

history of most people meaning something more specific than the proposition “I want a glass of

water” might mean to a hyper literalist applying the could-have-said-it-but-didn’t canon.

       If a legal canon is needed to establish this point, there is one at hand. Courts “assume

Congress is aware of existing law when it passes legislation and is aware of the judicial

background against which it is legislating.” Miles v. Apex Marine Corp., 498 U.S. 19, 32 (1990).

A party must clearly overcome that assumption to establish that Congress intended a change to

the meaning given legal terms by other statutes and their judicial gloss. Hubbard v. United

States, 514 U.S. 695, 700 (1995). “When Congress uses the language of one statute in another

statute it usually intends both statutes to have the same meaning.”         Avocados Plus Inc.v.

Veneman, 370 F. 3d 1243, 1249 (D.C. Cir. 2004).             And when interpreting statutes, the

“assumption is that Congress knows the law – by which the Supreme Court means judicial

decisions.” Id.9
9
  In a concurring opinion, Justice Gorsuch gilded the common sense with a citation to Blackstone.
Sessions v. Dimaya, 138 S. Ct. 1204, 1212, 1223 (2018). An English statute made “stealing sheep,
or other cattle” a felony. Id. at 1225 (citing 1 W. Blackstone, Commentaries on the Laws of England
88 (1769)). Back in the day, “the term ‘cattle’ embraced a good deal more than it does now
(including wild animals, no less). . .” Id. Blackstone examined a case where the court considered
whether the statute would cover, for example, a bull rustler. The English court did not hold that a
bull rustler was covered because Parliament could have said that “cattle” was limited to bos


                                                28
        Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 29 of 31




       Section 1512(c)(2) was codified in 2002 after enactment of the Sarbanes-Oxley Act. So,

the plain meaning inquiry turns to the “existing . . . legislation and . . . judicial background

against which [Congress was then] legislating.” Miles, 498 U.S. at 32. We “assume” Congress

did not intend to stray from that background unless shown otherwise.                 Id.   What did

“proceeding” refer to in the obstruction statutes before 2002? First, in over a century of

obstruction law and jurisprudence a “proceeding” shielded by criminalization of “obstruction”

entailed, at least, an inquiry or investigation. The government does not cite a single pre-2002

law or judicial decision where a defendant was prosecuted for “obstructing” a “proceeding” that

was not an inquiry or investigation. That is simply what we mean by obstruction of justice.

Second, in 1991 the D.C. Circuit conducted a painstaking analysis of the entire legislative

history of obstruction-of-Congress offenses specifically. United States v. Poindexter, 951 F.2d

369, 380-82 (D.C. Cir. 1991). It found that Section 241 was the primogenitor of obstruction-of-

Congress offenses.     Id.   Since that time, the same basic offense has been tweaked and

updated—there is no new offense. In Section 241, Congress “simply extended the protection

now provided by law for witnesses in Court proceedings to witnesses in proceedings before

either House of Congress.” 951 F.2d at 381.        The Court will notice the parallel between that

century-old concept and the very title of § 1512, “Tampering with a witness, victim or an

informant.”

       Third, in 1994 the D.C. Circuit addressed charges under both § 1505 and § 1512. United

States v. Kelley, 26 F.3d 1118 (D.C. Cir. 1994). Two points of great significance come from


primigenius taurus but did not. Instead, the court held that because the statute did not specify what
it meant by “cattle” against the background of vernacular usage, it would not apply to a bull rustler.
Id. “All of which, Blackstone added, had the salutary effect of inducing the legislature to reenter
the field and make itself clear by passing a new law extending the statute to ‘bulls, cows, oxen,’ and
more ‘by name.’” Id.



                                                 29
       Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 30 of 31




Kelley. In the first place, the government stipulated there that “proceeding” meant the same

thing in § 1505 and § 1512. 36 F.3d at 1128. That prompted the D.C. Circuit to premise part of

its decision on that basis. Id. Secondly, the court of appeals held that the OIG matter at issue

qualified as a “proceeding” under § 1505 because it had these quintessential obstruction-of-

justice qualities: (1) “adjudicative power” or “the power to enhance [its] investigation through

the issuance of subpoenas or warrants”; and (2) the OIG matter was an investigation. Kelley, 36

F.3d at 1127.

       All of these laws and judicial decisions preceded codification of § 1512(c)(2). The

interpretive question is not what Congress could have said but did not. (Congress could have

said by “proceeding” it meant something different from a century of obstruction jurisprudence

but did not.) The Court assumes that Congress is aware of the “existing . . . legislation and . . .

judicial background against which [it was then] legislating.” Miles, 498 U.S. at 32. Just as we do

not pour liquid on the head of someone who asks for a glass of water because they could have

said it was for drinking but did not, we do not interpret “proceeding” to mean something no law

or court had meant before Congress legislated. United States v. Ermoian, 752 F.3d 1165, 1169

(9th Cir. 2013) (holding that “proceeding” in § 1515(a)(1) must be interpreted in the “legal

sense” to mean activities that feature the defining qualifies of “the business done in courts”).




                                                 30
        Case 1:21-cr-00028-APM Document 455 Filed 10/13/21 Page 31 of 31




                                       CONCLUSION

       For all the foregoing reasons, the § 1512(c)(2) counts should be dismissed.



                               REQUEST FOR A HEARING

       Mr. Crowl respectfully requests that the Court grant a hearing on the Supplemental

briefings.

                                                    Respectfully submitted,

                                                    /s/ Carmen D. Hernandez


                                                    Carmen D. Hernandez
                                                    Bar No. MD03366
                                                    7166 Mink Hollow Rd
                                                    Highland, MD 20777
                                                    (240) 472-3391

                               CERTIFICATE OF SERVICE

      I hereby certify that the instant notice was served on all counsel of record 12th day of
October, 2021 on all counsel of record via ECF.



                                                           /s/

                                                    Carmen D. Hernandez




                                               31
